       Case 5:11-cr-00341-BLF Document 121 Filed 01/22/14 Page 1 of 2



 1   JAMES GILBERT KELLEMS, pro se
     c/o Office of the Federal Public Defender
 2   160 W. Santa Clara St., Suite 575
     San Jose, CA 95113
 3                                                                 (),/('

 4

 5

 6

 7                               IN THE UNITED STATES DISTRICT COURT

 8                           FOR THE NORTHERN DISTRICT OF CALIFORNIA

 9                                                SAN JOSE DIVISION

10   UNITED STATES OF AMERICA,             )                  No. CR-11-00341 DLJ
                                           )
11                     Plaintiff,          )                  STIPULATION TO CONTINUE
                                           )                  SENTENCING HEARING
12   vs.                                   )
                                           )
13   JAMES KELLEMS,                        )
                                           )
14                     Defendant.          )
     _____________________________________ )
15
             Defendant James Kellems and the government hereby stipulate that the sentencing
16
     hearing, currently set for Thursday, January 23, 2014, at 10:00 a.m., may be continued to
17
     Thursday, $SULO, 2014, at 10:00 a.m., in order to permit additional time for defense
18
     preparation and completion of the presentence investigation.
19
             The United States Probation Office has been consulted and has no objection.
20
     Dated: December 18, 2013
21
                                                    s/__________________________
22                                                  AMBER ROSEN
                                                    Assistant United States Attorney
23

24   Dated: December 18, 2013

25                                                  s/__________________________
                                                    JAMES GILBERT KELLEMS
26                                                  Defendant pro se

     Stipulation to Continue Sentencing Hearing
     CR11-00341 DLJ                                       1
       Case 5:11-cr-00341-BLF Document 121 Filed 01/22/14 Page 2 of 2



 1

 2

 3

 4

 5

 6

 7
                                 IN THE UNITED STATES DISTRICT COURT
 8
                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
 9
                                           SAN JOSE DIVISION
10
     UNITED STATES OF AMERICA,             )              No. CR-11-00341 DLJ
11                                         )
                       Plaintiff,          )              [] ORDER TO CONTINUE
12                                         )              SENTENCING HEARING
     vs.                                   )
13                                         )
     JAMES KELLEMS,                        )
14                                         )
                       Defendant.          )
15   _____________________________________ )

16           Good cause appearing and by stipulation of the parties, it is hereby ordered that the

17   sentencing hearing currently scheduled for Thursday, January 23, 2014, shall be continued to

18   Thursday, $SULO, 2014, at 10:00 a.m.

19

20   Dated: -DQXDU\, 201

21                                             _____________________________
                                               THE HON. D. LOWELL JENSEN
22                                             Senior United States District Judge

23

24

25

26

     [] Order to Continue Sentencing
     CR11-00341 DLJ                                   1
